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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  PEACETECH LAB, INC.,
            Plaintiff,
             v.                                              Civil Action No. 20-922 (JDB)

  C5 ACCELERATE LLC, et al.
            Defendants.

                                              ORDER

        Upon consideration of [40] the parties’ third status report, and the entire record herein, it

is hereby

        ORDERED that defendant Andre Pienaar shall, by not later than February 11, 2022,

either submit to the Court confirmation that he made the $513,718 wire transfer on January 18,

2022, as he represented in [39] the parties’ January 19, 2022 status report, or show cause why he

should not be held in contempt for failing to do so; it is further

        ORDERED that a status conference in this matter shall be set for February 15, 2022, at

10:00 AM via Zoom; it is further

        ORDERED that defendant Andre Pienaar shall personally attend the aforementioned

status conference; and it is further

        ORDERED that the aforementioned status conference will be cancelled only upon joint

request of the parties.

        SO ORDERED.

                                                                                    /s/
                                                                             JOHN D. BATES
                                                                         United States District Judge
Dated: February 7, 2021




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